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              Fact Sheet: President Donald J. Trump Works to Remake America’s Federal Workforce


                                                                 The White House


                                                                 February 11, 2025




 REFORMING THE FEDERAL WORKFORCE TO BETTER SERVE AMERICANS: Today,
 President Donald J. Trump signed an Executive Order implementing the President’s
 Department of Government Efficiency (DOGE) workforce optimization initiative.
           The Executive Order will make the federal workforce more efficient and effective.
                     Agency Heads will coordinate and consult with DOGE to shrink the size of
                     the federal workforce and limit hiring to essential positions.
                     The Office of Personnel Management will initiate a rulemaking to ensure
                     federal employees are held to the highest standards of conduct.

           The Order will significantly reduce the size of government.
                     Upon expiration of the Day 1 hiring freeze and implementation of the hiring
                     plan, agencies will be able to hire no more than one employee for every four
                     employees that depart from federal service (with appropriate immigration,
                     law enforcement, and public safety exceptions).
                     Agencies will undertake plans for large-scale reductions in force and
                     determine which agency components (or agencies themselves) may be
                     eliminated or combined because their functions aren’t required by law.

           The Order exempts personnel and functions critical to national security, public
           safety, law enforcement, and immigration enforcement.
 REDUCING THE UNNECESSARY FOOTPRINT OF GOVERNMENT: President Donald J.
 Trump is committed to reducing the size and scope of the federal government.
           There are too many federal employees.

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                     Excluding active-duty military and Postal Service employees, the federal
                     workforce exceeds 2.4 million.
                     No one knows exactly how many federal agencies exist, but the Federal
                     Register lists over 400.

           The federal workforce contributes significantly to federal spending and debt.
                     In fiscal year 2022, the federal government spent nearly $300 billion on
                     compensation for civilian employees, excluding pensions.
                     According to a recent congressional report, only 6% of federal workers
                     report to work in-person on a full-time basis.
 BUILDING ON PAST SUCCESS: President Trump has made reforming the federal
 workforce a key priority for his second term.
           President Trump has consistently worked to shrink the administrative state.

           His first term spurred robust economic growth and innovation through regulatory
           reform.

           Workforce reform in his second term will build on these successes.




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